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           7
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           9
                                                    UNITED STATES DISTRICT COURT
          10
                                                   NORTHERN DISTRICT OF CALIFORNIA
          11
                                                             OAKLAND DIVISION
          12
          13     LUCIA GRECO,                                      Case No. 4:20-cv-02698-YGR
          14                          Plaintiff,                   DECLARATION OF PLAINTIFF LUCIA
                                                                   GRECO IN SUPPORT OF OPPOSITION
          15             v.                                        TO DEFENDANTS’ MOTION TO
                                                                   COMPEL ARBITRATION
          16     UBER TECHNOLOGIES, INC.; RASIER,
                 LLC; and RASIER-CA, LLC,                          Date:        September 8, 2020
          17                                                       Time:        2:00 p.m.
                                      Defendants.                  Judge:       Hon. Yvonne Gonzalez Rogers
          18                                                       Location:    1301 Clay Street, Ctrm. 1, 4th Fl.
          19                                                       Complaint Filed: April 19, 2020
          20         I, Lucia Greco, hereby declare as follows:
          21
                     1. I have personal knowledge of the facts stated herein. If called as a witness in court, I could
          22
                         truthfully testify to them.
          23
                     2. I am the Plaintiff in the above-captioned lawsuit. I submit this Declaration in support of my
          24
          25             Opposition to Defendants’ Motion to Compel Arbitration.

          26         3. I am visually impaired and use a guide dog to travel safely and independently.

          27         4. Due to my visual impairment, I cannot drive and must rely on public transportation, taxis,
          28
                 DECLARATION OF PLAINTIFF LUCIA
                 GRECO ISO OPPOSITION TO DEFENDANTS’               1                        Case No. 4:20-CV-02698-YGR
                 MOTION TO COMPEL ARBITRATION
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           1             and rideshare taxi services such as that provided by Defendants Uber Technologies, Inc.
           2             (“Uber”); Rasier, LLC; and Rasier-CA, LLC.
           3
                     5. When I book rides through Uber’s rideshare application (the “Uber App”), I am repeatedly
           4
                         denied service because Uber drivers refuse to allow my guide dog in their vehicles.
           5
                     6. I use screen-reading technology to translate text on my mobile phone and computer to be read
           6
                         out loud to me. I am unable to access any programs or applications on my mobile phone or
           7
                         computer unless the programs and applications were created to be accessible to visually
           8
                         disabled users (i.e., can be read by screen-reading technology).
           9
                     7. When I signed up for the Uber App in 2013, I could not access or read Uber’s “Terms and
          10
                         Conditions” and much of the sign-up process, because several screens on the Uber App were
          11
                         inaccessible to my mobile phone screen reader.
          12
                     8. Despite Uber’s representations that it sent me an email in November 2016 alerting me of an
          13
                         update to its Terms and Conditions, I am certain that I never received any such email. After
          14
                         signing up for the Uber App, I created an email filter that would direct all incoming emails
          15
                         from Uber to a specific file in my email inbox. With the exception of advertisements (i.e., deals
          16
                         on rides or special services from 3rd party vendors), I have kept all emails from Uber.
          17
                         Additionally, because of my involvement as a witness in the Nat’l Fed’n of the Blind of Cal.
          18
                         v. Uber Techs., Inc., Case No. 14-cv-04086-NC, 2016 U.S. Dist. LEXIS 192176, (N.D. Cal.
          19
                         2016) case (“NFB case”), I had a specific reason to keep careful track of any emails from Uber.
          20
                         My Uber email file reveals that I did not receive any email from Uber in November 2016
          21
                         regarding alleged updates to its Terms and Conditions.
          22
                     9. Although I did not have independent knowledge of Uber’s Terms and Conditions, I
          23
                         acknowledge that I learned of the Terms and Conditions and the arbitration provision contained
          24             in them through the NFB case and my counsel in the above-captioned case.
          25         10. I worked with my counsel in this case to prepare and file a Demand for Arbitration with the
          26             American Arbitration Association (“AAA”) on March 27, 2020. I filed my claim with the AAA
          27             in good faith and with the full intention of proceeding with arbitration.
          28
                 DECLARATION OF PLAINTIFF LUCIA
                 GRECO ISO OPPOSITION TO DEFENDANTS’               2                        Case No. 4:20-CV-02698-YGR
                 MOTION TO COMPEL ARBITRATION
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           1             I declare under penalty of perjury under the laws of the United States and the State of
           2     California that the foregoing is true and correct.
           3                            8/14/2020
                         Executed on ______________ in Berkeley, California.
           4
                                                                          __________________________________
           5                                                              Lucia Greco
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                 DECLARATION OF PLAINTIFF LUCIA
                 GRECO ISO OPPOSITION TO DEFENDANTS’                  3                    Case No. 4:20-CV-02698-YGR
                 MOTION TO COMPEL ARBITRATION
